


  Per Curiam.
 

  Sham Jayant Bhat was admitted to practice by this Court in 1986 and lists a business address in Burtonsville, Maryland with the Office of Court Administration. Bhat now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
 

  As is noted by AGC, Bhat is presently delinquent in his New York attorney registration requirements, having failed to timely register for the biennial period beginning in 2016 (see Judiciary Law § 468-a; Rules of Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Bhat is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]; Matter of Arms, 251 AD2d 743, 743-744 [1998]; Matter of Ryan, 238 AD2d 713, 713-714 [1997]; Matter of Farley, 205 AD2d 874, 874-875 [1994]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Taboada, 152 AD3d 1043, 1044 [2017]; Matter of Cluff, 148 AD3d 1346, 1346 [2017]). Further, any future application by Bhat must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
 

  Egan Jr., J.R, Lynch, Aarons, Rumsey and Pritzker, JJ., concur.
 

  Ordered that Sham Jayant Bhat’s application for permission to resign is denied.
 
